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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    UBIQUITI NETWORKS, INC.,

                              Plaintiff,

                         v.

    CAMBIUM NETWORKS, INC.;                              Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, LTD.;
    BLIP NETWORKS, LLC;                                  JURY TRIAL DEMANDED
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and DMITRY
    MOISEEV.

                              Defendants.


                   PLAINTIFF’S MOTION FOR EXTENSION OF TIME
                          TO FILE AMENDED COMPLAINT

       Plaintiff Ubiquiti Networks, Inc. (“Plaintiff”), by its undersigned counsel, respectfully

files this motion seeking leave to extend the time for filing of Plaintiff’s Amended Complaint by

fourteen (14) days, until June 19, 2019, in this action against Defendants Cambium Networks,

Inc., Cambium Networks, Ltd., Blip Networks, LLC, Winncom Technologies, Inc., Sakid

Ahmed, and Dmitry Moiseev (“Defendants”), and states as follows in support thereof:

       1.      On May 22, 2019, the Court entered a minute entry order and accompanying

Memorandum Opinion and Order in which it granted in part, and denied in part, Defendants’

motion to dismiss Plaintiff’s complaint in this action, and dismissed Plaintiff’s complaint without

prejudice. See ECF Dkt. Nos. 58 & 59. The Court further ordered that Plaintiff shall have until

June 5, 2019 to file an amended complaint, and that if Plaintiff files an amended complaint,

Defendant shall have until June 19, 2019 to file their response thereto. See id.

       2.      Plaintiff respectfully requests a fourteen (14) day extension of the deadline for

Plaintiff to file an amended complaint. The requested extension is necessary in light of the
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nature and amount of the work to be completed in connection with this filing, existing deadlines

for other client matters that require the attention of counsel for Plaintiff, and the schedules of

counsel during the intervening federal holiday.

       3.      This is Plaintiff’s first request for extension of time to file this pleading, and the

first request for extension of time requested by Plaintiff in this case.

       4.      The requested extension is sought for good cause and in good faith, and is not

being brought for the purpose of delay. The granting of this motion will not prejudice any party.

       5.      A status hearing is currently scheduled in this action for June 11, 2019 at 9:00

a.m.; Plaintiff defers to the Court as to whether this status hearing should be rescheduled in light

of the requested extension.

       6.      Plaintiff’s counsel has communicated with Defendants’ counsel regarding this

extension request, and Defendants’ counsel has informed Plaintiff that Defendants oppose the

relief requested in this motion. A true and correct copy of the parties’ correspondence with

respect to this matter is attached as Exhibit A.

       WHEREFORE, Plaintiff respectfully requests that the Court grant the foregoing Motion

for Extension of Time to File Amended Complaint and enter an order extending the deadline for

Plaintiff to file its Amended Complaint by fourteen (14) days to June 19, 2019.



Dated: May 24, 2019                            Respectfully submitted,


                                               FOX SWIBEL LEVIN & CARROLL LLP

                                               /s/ Erik J. Ives
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                                  Attorneys for Plaintiff Ubiquiti Networks, Inc.




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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on May 24, 2019, he caused the foregoing
document to be electronically filed with the Clerk of the United States District Court for the
Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which is also
served upon counsel for all parties of record.



                                                   /s/ Erik J. Ives
                                                   Erik J. Ives




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